                 IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                         GREENSBORO DIVISION


DR. DEIRDRA LEANE,

                     Plaintiff,
      v.                                        Civil Action No. 1:21 – CV – 00514

WILLIAM RALPH CARTER, JR.,

                      Defendant.




           DEFENDANT’S ANSWER and AFFIRMATIVE DEFENSES

      NOW COMES Defendant William R. Carter, Jr., by and through his undersigned

counsel, and hereby responds to the allegations set forth in Plaintiff’s Amended Verified

Complaint (Dkt. 14) as follows:

                                          PARTIES

      1. Admitted, upon information and belief.

      2. Admitted.

                                  JURISDICTION AND VENUE

      3. Admitted.

      4. Admitted.

      5. Admitted.

                                             FACTS

      6. Admitted.




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7. Admitted.

8. It is denied that Defendant left the patent business.      It is admitted that

   Defendant has business ventures of his own.       Except as admitted herein,

   denied.

9. Denied.

10. Denied.

11. Denied.

12. Denied.

13. Denied.

14. It is admitted that Exhibit A to Plaintiff’s Amended Verified Complaint speaks

   for itself and is the best evidence of its contents.    Except as specifically

   admitted herein, denied.

15. Denied, including all sub-parts.

16. Denied.

                              FIRST CAUSE OF ACTION
                             ACTION ON OPEN ACCOUNT

17. The foregoing responses are re-alleged and incorporated by reference as if

   fully set forth herein.

18. Denied.

19. Denied.

20. Denied.



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                                SECOND CAUSE OF ACTION
                                  BREACH OF CONTRACT

       21. The foregoing responses are re-alleged and incorporated by reference as if

          fully set forth herein.

       22. Denied.

       23. Denied.

       24. Denied.

                                    THIRD CAUSE OF ACTION
                                     UNJUST ENRICHMENT

       25. The foregoing responses are re-alleged and incorporated by reference as if

          fully set forth herein.

       26. Denied.

       27. Denied.

       28. Denied.

       29. Denied.

              FIRST AFFIRMATIVE DEFENSE: GENERAL DENIAL

       Defendant denies all allegations of Plaintiff’s Amended Verified Complaint not

expressly admitted herein and Defendant generally denies any liability to Plaintiff for any

reason whatsoever. Defendant re-alleges and incorporates by reference the foregoing

responses into each Affirmative Defense alleged herein.




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      SECOND AFFIRMATIVE DEFENSE: STATUTE OF LIMITATIONS

       Defendant pleads and asserts that Plaintiff’s claims are barred entirely by the

Statute of Limitations period pursuant to N.C. Gen. Stat. §1-52 and other applicable law.

        THIRD AFFIRMATIVE DEFENSE: LACK OF CONSIDERATION

       Defendant denies the existence of a valid contract between Plaintiff and

Defendant, and specifically raises lack of consideration in bar of Plaintiff’s claims.

  FOURTH AFFIRMATIVE DEFENSE: FAILURE TO MITIGATE DAMAGES

       Plaintiff’s claims and relief sought are barred to the extent that Plaintiff has failed

to mitigate her damages.

FIFTH AFFIRMATIVE DEFENSE: UNCLEAN HANDS, WAIVER, ESTOPPEL,
                        and LACHES

       Defendant pleads and assert that Plaintiffs’ Amended Verified Complaint is barred

in whole or in part by the doctrines of unclean hands, waiver, estoppel, and/or laches

based upon Plaintiff’s own conduct.

            SIXTH AFFIRMATIVE DEFENSE: GIFT and/or CONSENT

       Plaintiff’s claims are barred in whole or in part to the extent any alleged loans

made to Defendant were gifts. Plaintiff’s claims are barred in whole or in part to the

extent that Plaintiff has acquiesced or consented to Defendant’s failure to pay same.




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         SEVENTH AFFIRMATIVE DEFENSE: PAYMENT and OFFSET

       To the extent the trier of fact determines Defendant is liable to Plaintiff in any

amount, which Defendant specifically denies, Defendant hereby asserts an offset and/or

credit against such damages to the extent payment(s) were made to Plaintiff.

                           RESERVATION OF DEFENSES

       Defendant hereby asserts and maintains his right to raise any additional

affirmative defenses shown to exist via discovery or other proceedings in this litigation.

       WHEREFORE, Defendant respectfully prays the Court for the following relief:

   1. That Plaintiff have and recover nothing of Defendant;

   2. That the claims asserted by Plaintiff in this action be dismissed, with prejudice;

   3. That Defendant have and recover all applicable costs, in the highest amount

       provided by law;

   4. That Defendant have and recover his reasonable attorneys’ fees to the extent

       provided by law;

   5. That this matter be tried before a jury on all issues so triable; and

   6. That Defendant have and recover all such other and further relief as this

       Honorable Court deems to be just and proper.



                                  [signatures on following page]




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Respectfully submitted, this the 25th day of February, 2022.



                                         SIGMON KLEIN, PLLC

                                         By: /s/ Ben E. Klein
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                           CERTIFICATE OF SERVICE

       The undersigned hereby certifies that this day he served a copy of the foregoing
document on counsel of record by electronically filing same via the ECF System, which
will send notice to all counsel of record as follows:

      Akiva M. Cohen (email: acohen@kusklaw.com)
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      T. Greg Doucette (email: greg@tgdlaw.com)
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      This the 25th day of February, 2022.

                                                 SIGMON KLEIN, PLLC

                                                 By: /s/ Grant Sigmon
                                                 NC Bar No. 43205
                                                 Email: grant@sklawnc.com

                                                 Attorney for Defendant




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